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          Exhibit 3 - Projects by CD Typology, with CD Typology Demographic Data

                                                              CD Preference Area Population
                                    HC     No. of
                    CD Preference
  CD Typology                     Project Lottery  Total                                    %      % All
                        Area                                % White % Black % Asian
                                    No.   Awards Population                             Hispanic   Other

Majority Hispanic   BK04             28       8    140,999     16.22    20.16     6.15    55.79     1.68
Majority Hispanic   BK04             90      17    140,999     16.22    20.16     6.15    55.79     1.68
Majority Hispanic   BK04            117       3    140,999     16.22    20.16     6.15    55.79     1.68
Majority Hispanic   BK04            132       3    140,999     16.22    20.16     6.15    55.79     1.68
Majority Hispanic   BK04            135       3    140,999     16.22    20.16     6.15    55.79     1.68
Majority Hispanic   BK04            301       3    140,999     16.22    20.16     6.15    55.79     1.68
Majority Hispanic   BX01             85     157    110,923      1.89    28.88     0.62    67.17     1.44
Majority Hispanic   BX01             91     125    110,923      1.89    28.88     0.62    67.17     1.44
Majority Hispanic   BX01            100      13    110,923      1.89    28.88     0.62    67.17     1.44
Majority Hispanic   BX01            253     135    110,923      1.89    28.88     0.62    67.17     1.44
Majority Hispanic   BX01            257     133    110,923      1.89    28.88     0.62    67.17     1.44
Majority Hispanic   BX01            261      64    110,923      1.89    28.88     0.62    67.17     1.44
Majority Hispanic   BX02              5      38     57,278      1.12    25.66     0.78    71.44     0.99
Majority Hispanic   BX02            126     140     57,278      1.12    25.66     0.78    71.44     0.99
Majority Hispanic   BX03              8     151     64,405      1.20    37.32     0.63    59.80     1.04
Majority Hispanic   BX03             23      20     64,405      1.20    37.32     0.63    59.80     1.04
Majority Hispanic   BX03             93      17     64,405      1.20    37.32     0.63    59.80     1.04
Majority Hispanic   BX03            120      66     64,405      1.20    37.32     0.63    59.80     1.04
Majority Hispanic   BX03            147      64     64,405      1.20    37.32     0.63    59.80     1.04
Majority Hispanic   BX03            196     209     64,405      1.20    37.32     0.63    59.80     1.04
Majority Hispanic   BX03            250      77     64,405      1.20    37.32     0.63    59.80     1.04
Majority Hispanic   BX03            275     147     64,405      1.20    37.32     0.63    59.80     1.04
Majority Hispanic   BX03            289       5     64,405      1.20    37.32     0.63    59.80     1.04
Majority Hispanic   BX03            316     112     64,405      1.20    37.32     0.63    59.80     1.04
Majority Hispanic   BX03, BX04       18      45    223,477      1.56    31.65     1.42    63.88     1.49
Majority Hispanic   BX04             11      83    159,072      1.71    29.35     1.74    65.53     1.67
Majority Hispanic   BX04             22     111    159,072      1.71    29.35     1.74    65.53     1.67
Majority Hispanic   BX04            216      15    159,072      1.71    29.35     1.74    65.53     1.67
Majority Hispanic   BX04            218       8    159,072      1.71    29.35     1.74    65.53     1.67
Majority Hispanic   BX04            219       8    159,072      1.71    29.35     1.74    65.53     1.67
Majority Hispanic   BX04            284      56    159,072      1.71    29.35     1.74    65.53     1.67
Majority Hispanic   BX04, BX09      247     101    342,200      2.16    29.64     4.38    61.49     2.33
Majority Hispanic   BX05             84      19    143,861      1.47    25.24     1.61    70.46     1.22
Majority Hispanic   BX05            102       7    143,861      1.47    25.24     1.61    70.46     1.22
Majority Hispanic   BX05            107      20    143,861      1.47    25.24     1.61    70.46     1.22
Majority Hispanic   BX05            131      14    143,861      1.47    25.24     1.61    70.46     1.22
Majority Hispanic   BX05            171      49    143,861      1.47    25.24     1.61    70.46     1.22
Majority Hispanic   BX05            320       5    143,861      1.47    25.24     1.61    70.46     1.22
Majority Hispanic   BX05, BX09      277      28    326,988      2.08    27.84     4.44    63.47     2.16
Majority Hispanic   BX06             20     139     95,483      6.69    26.16     1.16    64.79     1.20
Majority Hispanic   BX06             27      20     95,483      6.69    26.16     1.16    64.79     1.20
Majority Hispanic   BX06            145      10     95,483      6.69    26.16     1.16    64.79     1.20
Majority Hispanic   BX06            181      42     95,483      6.69    26.16     1.16    64.79     1.20
Majority Hispanic   BX06            313       7     95,483      6.69    26.16     1.16    64.79     1.20




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                                                              CD Preference Area Population
                                    HC     No. of
                    CD Preference
  CD Typology                     Project Lottery  Total                                    %      % All
                        Area                                % White % Black % Asian
                                    No.   Awards Population                             Hispanic   Other

Majority Hispanic   BX07            114       7    136,568      6.35    16.21     5.22    70.24     1.98
Majority Hispanic   BX07            116      18    136,568      6.35    16.21     5.22    70.24     1.98
Majority Hispanic   BX07            199      56    136,568      6.35    16.21     5.22    70.24     1.98
Majority Hispanic   BX09            118     106    183,128      2.56    29.89     6.67    57.97     2.90
Majority Hispanic   BX09            141      95    183,128      2.56    29.89     6.67    57.97     2.90
Majority Hispanic   MN12             92       6    220,205     18.30     9.03     2.67    68.34     1.67
Majority Hispanic   MN12            110      41    220,205     18.30     9.03     2.67    68.34     1.67
Majority Hispanic   QN04             86       6    178,010      6.70     6.30    33.14    52.22     1.64
Majority Asian      QN07             16     142    242,159     24.95     2.14    53.04    17.58     2.29
                    BK02, BK03,
Majority Black                      185       51   438,627     23.44    52.35     4.97    16.30     2.94
                    BK08, BK16
Majority Black      BK03             95      47    135,201     19.43    56.78     3.41    17.96     2.41
Majority Black      BK03            148       8    135,201     19.43    56.78     3.41    17.96     2.41
Majority Black      BK03            180       7    135,201     19.43    56.78     3.41    17.96     2.41
Majority Black      BK03, BK08       99      16    231,813     19.18    58.52     3.67    15.81     2.82
Majority Black      BK03, BK08      150      14    231,813     19.18    58.52     3.67    15.81     2.82
Majority Black      BK05             24      22    179,274      3.31    55.49     3.74    35.16     2.30
Majority Black      BK05            125     143    179,274      3.31    55.49     3.74    35.16     2.30
Majority Black      BK05            170     221    179,274      3.31    55.49     3.74    35.16     2.30
Majority Black      BK05            272     255    179,274      3.31    55.49     3.74    35.16     2.30
Majority Black      BK05            279     189    179,274      3.31    55.49     3.74    35.16     2.30
Majority Black      BK08             88      78     96,613     18.83    60.96     4.04    12.79     3.38
Majority Black      BK08            258      23     96,613     18.83    60.96     4.04    12.79     3.38
Majority Black      BK09            182       5    110,329     23.05    63.33     2.06     9.09     2.47
Majority Black      BK16            140      33     83,109      2.94    72.70     1.67    21.33     1.37
Majority Black      BK16            186      39     83,109      2.94    72.70     1.67    21.33     1.37
Majority Black      BK16            206      71     83,109      2.94    72.70     1.67    21.33     1.37
Majority Black      BK16            237      86     83,109      2.94    72.70     1.67    21.33     1.37
Majority Black      BX12            124     201    176,849      6.27    61.70     3.45    26.07     2.51
Majority Black      BX12            198      61    176,849      6.27    61.70     3.45    26.07     2.51
Majority Black      BX12            263      59    176,849      6.27    61.70     3.45    26.07     2.51
Majority Black      BX12            286      14    176,849      6.27    61.70     3.45    26.07     2.51
Majority Black      MN10             10      51    112,939     14.68    54.86     3.07    24.17     3.22
Majority Black      MN10             12      28    112,939     14.68    54.86     3.07    24.17     3.22
Majority Black      MN10             89      99    112,939     14.68    54.86     3.07    24.17     3.22
Majority Black      MN10            106      18    112,939     14.68    54.86     3.07    24.17     3.22
Majority Black      MN10            109      20    112,939     14.68    54.86     3.07    24.17     3.22
Majority Black      MN10            137      17    112,939     14.68    54.86     3.07    24.17     3.22
Majority Black      MN10            146      10    112,939     14.68    54.86     3.07    24.17     3.22
Majority Black      MN10            176      49    112,939     14.68    54.86     3.07    24.17     3.22
Majority Black      MN10            201      20    112,939     14.68    54.86     3.07    24.17     3.22
Majority Black      MN10            226      34    112,939     14.68    54.86     3.07    24.17     3.22
Majority Black      MN10            231      46    112,939     14.68    54.86     3.07    24.17     3.22
Majority Black      MN10            260      30    112,939     14.68    54.86     3.07    24.17     3.22




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                                                           CD Preference Area Population
                                 HC     No. of
                 CD Preference
  CD Typology                  Project Lottery  Total                                    %      % All
                     Area                                % White % Black % Asian
                                 No.   Awards Population                             Hispanic   Other

Majority Black   MN10            278      44    112,939     14.68    54.86     3.07    24.17     3.22
Majority Black   QN12             82      46    239,955      1.62    64.01    10.64    16.06     7.67
Majority Black   QN12             83     100    239,955      1.62    64.01    10.64    16.06     7.67
Majority Black   QN12            173      53    239,955      1.62    64.01    10.64    16.06     7.67
Majority White   BK01              4      78    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01             14      45    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01             87       4    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01             94     105    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            115      38    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            195      19    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            211      92    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            212       7    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            225      32    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            230      30    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            232      95    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            256       3    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            267       3    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            268       7    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            281      10    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            304      39    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK01            310     102    187,804     60.08     5.69     6.74    25.14     2.35
Majority White   BK06            188       3    131,658     62.60     9.13     6.71    16.77     4.79
Majority White   BK13              9     111    113,667     56.36    11.33    14.39    15.39     2.54
Majority White   MN01            202      22     73,927     63.92     3.55    21.05     7.43     4.04
Majority White   MN02            255      29     80,194     75.91     2.04    12.92     5.96     3.17
Majority White   MN02            270      41     80,194     75.91     2.04    12.92     5.96     3.17
Majority White   MN04              7      40     89,295     56.48     7.92    14.78    18.37     2.45
Majority White   MN04             17      78     89,295     56.48     7.92    14.78    18.37     2.45
Majority White   MN04             19     142     89,295     56.48     7.92    14.78    18.37     2.45
Majority White   MN04            172     117     89,295     56.48     7.92    14.78    18.37     2.45
Majority White   MN04            193      51     89,295     56.48     7.92    14.78    18.37     2.45
Majority White   MN04            251      60     89,295     56.48     7.92    14.78    18.37     2.45
Majority White   MN04            262      17     89,295     56.48     7.92    14.78    18.37     2.45
Majority White   MN04            285      34     89,295     56.48     7.92    14.78    18.37     2.45
Majority White   MN04            287      61     89,295     56.48     7.92    14.78    18.37     2.45
Majority White   MN04            298      85     89,295     56.48     7.92    14.78    18.37     2.45
Majority White   MN05            142      64    106,409     65.32     3.31    19.08     9.16     3.13
Majority White   MN05            224      61    106,409     65.32     3.31    19.08     9.16     3.13
Majority White   MN05            269      43    106,409     65.32     3.31    19.08     9.16     3.13
Majority White   MN06            133      19    109,621     68.51     3.43    14.95     9.83     3.27
Majority White   MN06            189      14    109,621     68.51     3.43    14.95     9.83     3.27
Majority White   MN07            136      55    170,171     65.15     6.25     9.03    16.93     2.63
Majority White   MN07            194     127    170,171     65.15     6.25     9.03    16.93     2.63
Majority White   MN08            208      48    217,906     75.64     2.33     9.88     9.46     2.69




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                                                               CD Preference Area Population
                                     HC     No. of
                     CD Preference
  CD Typology                      Project Lottery  Total                                    %      % All
                         Area                                % White % Black % Asian
                                     No.   Awards Population                             Hispanic   Other
Plurality Hispanic   BX08            290       7       92,586    38.85   10.07     4.32    44.05     2.70
Plurality Hispanic   MN09             29      98      102,003    26.47   22.08     8.58    39.43     3.44
Plurality Hispanic   MN09            179      21      102,003    26.47   22.08     8.58    39.43     3.44
Plurality Hispanic   MN09            223      77      102,003    26.47   22.08     8.58    39.43     3.44
Plurality Hispanic   MN09            229      65      102,003    26.47   22.08     8.58    39.43     3.44
Plurality Hispanic   MN11              2      36      157,002    16.25   33.36     7.44    40.66     2.29
Plurality Hispanic   MN11             13     170      157,002    16.25   33.36     7.44    40.66     2.29
Plurality Hispanic   MN11             21     119      157,002    16.25   33.36     7.44    40.66     2.29
Plurality Hispanic   MN11             96      89      157,002    16.25   33.36     7.44    40.66     2.29
Plurality Hispanic   MN11            108      87      157,002    16.25   33.36     7.44    40.66     2.29
Plurality Hispanic   MN11            138      31      157,002    16.25   33.36     7.44    40.66     2.29
Plurality Hispanic   MN11            215       7      157,002    16.25   33.36     7.44    40.66     2.29
Plurality Hispanic   MN11            222      16      157,002    16.25   33.36     7.44    40.66     2.29
Plurality Hispanic   MN11            236       3      157,002    16.25   33.36     7.44    40.66     2.29
Plurality Hispanic   MN11            248       2      157,002    16.25   33.36     7.44    40.66     2.29
Plurality Hispanic   QN02            111     911      122,814    29.53    2.01    31.67    34.25     2.54
Plurality Hispanic   QN02            299      25      122,814    29.53    2.01    31.67    34.25     2.54
Plurality Hispanic   QN09              1      96      140,472    16.45    5.91    27.13    43.21     7.30
                     BK01, BK03,
Plurality Black      BK04, BK05,     210       29     861,514    20.14   45.72     4.17    27.92     2.06
                     BK16, BK17
                     BK03, BK04,
Plurality Black                      192       19     359,308    14.36   46.09     4.08    33.58     1.88
                     BK16
Plurality Black      BX06, BX12       75      27      272,332     6.42   49.24     2.65    39.65     2.05
Plurality Black      MN09, MN10      105      22      214,942    20.28   39.30     5.68    31.41     3.32
Plurality Black      MN10, MN11      121      12      269,941    15.60   42.36     5.61    33.76     2.68
Plurality Black      MN10, MN11      234      13      269,941    15.60   42.36     5.61    33.76     2.68
Plurality Black      QN14            311      52      123,012    35.09   35.14     3.46    24.40     1.92
Plurality Black      QN14            317     100      123,012    35.09   35.14     3.46    24.40     1.92
Plurality White      BK02            149      19      123,705    45.20   27.12     9.62    13.84     4.21
Plurality White      BK02            183     197      123,705    45.20   27.12     9.62    13.84     4.21
Plurality White      BK02            220     220      123,705    45.20   27.12     9.62    13.84     4.21
Plurality White      BK02            315      23      123,705    45.20   27.12     9.62    13.84     4.21
                     BK02, BK03,
Plurality White                      276     170      487,176    37.52   37.20     6.01    15.57     3.70
                     BK06, BK08
                     BK02, BK06,
Plurality White                       98        8     369,694    45.57   13.13    12.37    25.21     3.72
                     BK07
Plurality White      MN03             80      30      165,962    35.64    6.87    30.32    24.27     2.88
Plurality White      MN03            175      16      165,962    35.64    6.87    30.32    24.27     2.88
Plurality White      QN01             25     105      181,668    45.86    8.36    16.12    26.85     2.81
Plurality White      QN01            271       5      181,668    45.86    8.36    16.12    26.85     2.81
Plurality White      QN01            300       5      181,668    45.86    8.36    16.12    26.85     2.81




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